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                                                                         Clark County, Ohio
                                                                               F!lED
                                                                            JAN O9 2025
                                                                        Common Pleas Court
                                                                       Melissa M. Tuttle, Clerk




                 IN THE COMMON PLEAS COU1:lT OF CLARK COUNTY, omo
                                CRIMINAL DIVISION

    STATEOFOIDO                                       CASE NO. 2024 CR 0278

          Plaintiff,                                  JUDGE RASTATTER
    vs.

    WILLIAM J. BROCK                                  SHOW CAUSE ORDER AND NOTICE

          Defendant.


~         This case is before the Court upon Defendant's Motion to Show Cause filed on
I 'Ce.1'15tr Ju, 2024, requiring the Federal Bureau of Investigation (F.B.I.), Resident Agent in
 charge to appear before this Court to show cause why they should not be held in c •vi or criminal
 contempt for their failure to abide by the subpoen~ duces tecum filed herein on f JJ J~, pursuant
 to Ohio Crim. R. 17.

   The motion demonstrates that there is probable bause to believe that the F.B.I. is in contempt of
 this Court and ORDERS that the Resident Agent in charge from the F.B.I. appear before Judge
 Rastatter _in the lar County Common Pleas Court, 101 North Limestone St., Springfield,
 OH 45502 on / 'rJ 1 :;r- ,~ at f :J<' : A.m , to show cause why they should not be
 punished for cri ·nal and/or civil contempt of this Court.


                                             NOTICE

    1. Failure to appear as order may result in the issuance of a bench warrant for an immediate
       arrest.
    2. Failure to appear may result in an immed{ate income withholding or deduction.
    3. You have the right to be represented by ru:i attorney.
    4. If you cannot afford an attorney, you mu~t apply for a public defender or appointed
       counsel, as appropriate, within three business days after receipt of this show cause order.
    5. A continuance may not be granted to qptain counsel if you have made no good faith
       effort to secure one.
    6. If found guilty, you may be sentenced as follows:

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                 ..    . •               i:                       .    .         .



            a. First offense- •a fine of noi Jore than $250.00 and/or a definite term . of
                imprisonment ofnot more than thirty (30) days in jail or both. .
            b. Second offense- a fine of not !more than $500.00 and/or a definite term of
              • imprisonment of not more than sixty(60) days in jail or both.
            c. Third offense - a fine of not more than $1,000.00 and/or a definite term of
                imprisonment of not more than ninety (90) days in jail or both.




                                                    Journalized
                                                       JAN O9 2025
                                                     Melissa M. Tuttle
                                                      Clerk of Courts




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